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                      iN THE UNITED STA丁ES DiS丁RiCT COURT
                   FOR THE WESTERN DIS丁RiC丁OF PENNSYLVANiA


UNITED S丁ATES OF
AMERICA,
                                                      Criminal No. 18‑286
             VS置



  SHERRY CO」LiNGW○○D,
           Defendant,



AMBROSE, Senior District Judge



                                  CHANGE OF PLEA

             AND NOW, the Defendant in the above‑CaPtioned case he「eby


             withdraws his pIea of not guilty entered on November 13, 2018


             and nowpleads gu岨y in open cour=his JULY 2, 202O      tO Count


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